Case 8:12-cv-02715-RAL-TBM Document 1 Filed 12/04/12 Page 1 of 5 PageID 1
Case 8:12-cv-02715-RAL-TBM Document 1 Filed 12/04/12 Page 2 of 5 PageID 2
Case 8:12-cv-02715-RAL-TBM Document 1 Filed 12/04/12 Page 3 of 5 PageID 3
Case 8:12-cv-02715-RAL-TBM Document 1 Filed 12/04/12 Page 4 of 5 PageID 4
Case 8:12-cv-02715-RAL-TBM Document 1 Filed 12/04/12 Page 5 of 5 PageID 5
